      CASE 0:22-cv-00513-ECT-DTS Doc. 31 Filed 08/05/22 Page 1 of 2

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August 5, 2022
VIA ECF

Hon. Eric C. Tostrud
United States District Judge
United States District Court
316 North Robert Street
St. Paul, MN 55101

    Re:     BCBSM v. GS Labs, No. 22-CV-513 (ECT/DTS) – Page Limit Extension

Dear Judge Tostrud:

        We write on behalf of BCBSM, Inc. (“Blue Cross”) regarding the above
litigation. Specifically, we write to request an extension of the word limit set by
Local Rule 7.1(f)(1)(D) from 12,000 words to 24,000 words for Blue Cross’s
forthcoming motion to dismiss GS Labs’ Amended Counterclaims. Blue Cross
anticipates filing the motion on August 9, 2022.

        Good cause exists for this extension given the extraordinary length and
complexity of GS Labs’ Amended Counterclaims (ECF 22), which assert 21 causes
of action across more than 100 pages. The disparate and unusual claims GS Labs
has pled include (1) two claims requesting that this Court imply a novel private
cause of action under a recent federal statute (Counts I and II); (2) five claims
asserting an elaborate antitrust conspiracy under state and federal law (Counts XIII
to XVIII); (3) seven contractual and quasi-contractual claims touching on six
separate sets of contracts, each raising distinct legal issues; (4) three claims for false
advertising under state and federal law, which concern five separate sets of
allegedly false statements (Counts X to XII); and (5) two unusual claims in which
GS Labs asks the Court to incorporate the requirements of a federal statute into
Minnesota’s common law of negligence and unjust enrichment (Counts V and VI).

       For reference, GS Labs initially pled a subset of five of the above in its
original Counterclaims (ECF 10), which stretched just 26 pages. Given the novelty
of those five claims, Blue Cross’s Memorandum in Support of its first Motion to
Dismiss (ECF 15) came near enough to the word limit set by Local Rule 7.1 to
allow for only a short reply brief. GS Labs’ Amended Counterclaims more than
      CASE 0:22-cv-00513-ECT-DTS Doc. 31 Filed 08/05/22 Page 2 of 2


August 5, 2022
Page 2

quadruple both the number of claims and pages. The claims GS Labs has added
raise new and complex legal issues, engrafting onto this case entire new fields of
law, some of which (antitrust in particular) are notoriously complicated.

       Blue Cross believes that GS Labs’ Amended Counterclaims, like its original
Counterclaims, fail as a matter of law. But given their quantity and complexity, it is
not possible to address them within the word limit set by Local Rule 7.1.

        Having prepared an initial draft of its opening brief, and having already
made substantial cuts, Blue Cross believes that extending the word limit set by
Local Rule 7.1(f)(1)(D) from 12,000 words to 24,000 words is necessary for a full
and fair opportunity to address the legal issues raised by GS Labs’ Amended
Counterclaims. Without this extension, Blue Cross will be badly prejudiced in its
ability to defend these counterclaims through no fault of its own, but due solely to
GS Labs’ choice to file an extraordinarily voluminous pleading. Moreover, courts
must be “reasonably aggressive in weeding out meritless antitrust claims at the
pleading stage” because of the “unusually high cost of discovery in antitrust cases,”
the “limited success of judicial supervision in checking discovery abuse,” and the
“threat [that] discovery expense will push cost-conscious defendants to settle even
anemic cases.” Insulate SB, Inc. v. Advanced Finishing Sys., Inc., 797 F.3d 538, 543
(8th Cir. 2015) (citation omitted). The requested extension is significantly smaller
than word-limit extensions this Court has granted for motions to dismiss antitrust
claims, even in the absence of numerous additional types of claims. See, e.g., Order
Regarding Briefing on Motions to Dismiss, In re Cattle Antitrust Litigation, 0:19-
cv-01222-JRT-HB (D. Minn. Aug. 1, 2019) (permitting the defendants 27,000
words for a joint brief, as well as 7,500 additional words for individual briefs, on a
motion to dismiss a complaint bringing 7 antitrust claims across 115 pages).

       GS Labs initially refused to consent to any extension of the word limit at all,
contending that it is inappropriate for Blue Cross to move to dismiss the Amended
Counterclaims in their entirety. After the parties conferred, GS Labs followed up
via email and offered to extend the word limit to 18,000, without explaining why it
would not agree to more. As discussed above, Blue Cross has prepared a draft brief
and, having already made significant cuts, knows that it cannot realistically address
21 disparate claims raising disparate issues across 105 pages within that limit.

       We thank the Court for its attention to this matter.

                                                         Respectfully,

                                                         /s/ Charlie C. Gokey
                                                         Charlie C. Gokey
